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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                             Chapter 7

 ERUS HOLDINGS LLC,                               Case No. 23-11833-CTG

           Debtor.

 In re:                                             Chapter 7

 ERUS BUILDERS, LLC,                                Case No. 23-11834-CTG

           Debtor.

 In re:                                             Chapter 7

 NATIONAL CLEAN ENERGY, LLC,                        Case No. 23-11835-CTG

           Debtor.                                  Hearing Date: December 29, 2023 at 10:00 am (ET)
                                                    Objection Deadline: December 20, 2023 at 4:00 pm (ET)



    NOTICE OF MOTION TO AUTHORIZE JOINT ADMINISTRATION OF CASES
     PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1015(b)

TO:       (a) the Office of the United States Trustee for the District of Delaware; and (b) those
          persons who have requested notice pursuant to Bankruptcy Rule 2002.

          PLEASE TAKE NOTICE that on December 6, 2023, George L. Miller, as Chapter 7

Trustee (the “Trustee”) of the estates of Erus Holdings, LLC, Erus Builders, LLC, and National

Clean Energy, LLC, (collectively, the “Debtors”) filed the Motion to Authorize Joint

Administration of Cases Pursuant to Federal Rule of Bankruptcy Procedures 1015(b) (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware, 824 North Market

Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Motion is attached

hereto.
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       PLEASE TAKE FURTHER NOTICE that any response or objection to the relief sought

in the Motion must be filed with the Bankruptcy Court on or before December 20, 2023, at 4:00

p.m. prevailing Eastern Time.

       PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (i) proposed counsel to the Chapter 7 Trustee, Gellert Scali

Busenkell & Brown, LLC, 1201 N. Orange Street, Suite 300, Wilmington, DE 19801, Attn: Ronald

S. Gellert, Esquire; and (ii) the Office of the United States Trustee, J. Caleb Boggs Federal

Building, 844 N. King Street, Suite 2207, Lock Box 35, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

       PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

RELIEF SOUGHT IN THE MOTION WILL BE HELD ON DECEMBER 29, 2023 AT 10:00

A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 3rd FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

Dated: December 6, 2023                    GELLERT SCALI BUSENKELL & BROWN, LLC

                                           /s/ Ronald S. Gellert
                                           Ronald S. Gellert (No. 4259)
                                           1201 N. Orange St., Ste. 300
                                           Wilmington, DE 19801
                                           Tel: (302) 425-5800
                                           Fax: (302) 425-5814
                                           Email: rgellert@gsbblaw.com

                                           Proposed Counsel to the Chapter 7 Trustee



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